                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN
                               MILWAUKEE DIVISION

DR. DAVID L. BROUILLETTE, D.C., S.C.,                  )
on behalf of plaintiff and the class defined           )
below,                                                 )
                                                       )
                       Plaintiff,                      )      2: 16-cv-136
                                                       )
                vs.                                    )
                                                       )
ACN OPPORTUNITY, LLC,                                  )
and JOHN DOES 1-10,                                    )
                                                       )
                       Defendants.                     )

                               COMPLAINT – CLASS ACTION

                      MATTERS COMMON TO MULTIPLE COUNTS

                                        INTRODUCTION

       1.       Plaintiff Dr. David L. Brouillette, D.C., S.C. brings this action to secure redress

for the actions of defendant ACN Opportunity, LLC in sending or causing the sending of

unsolicited advertisements to telephone facsimile machines in violation of the Telephone

Consumer Protection Act, 47 U.S.C. §227 (“TCPA”), Wisc. Stats. §100.20, and the common

law.

       2.       The TCPA expressly prohibits unsolicited fax advertising. Unsolicited fax

advertising damages the recipients. The recipient is deprived of its paper and ink or toner and

the use of its fax machine. The recipient also wastes valuable time it would have spent on

something else. Unsolicited faxes prevent fax machines from receiving and sending authorized

faxes, cause wear and tear on fax machines, and require labor to attempt to identify the source

and purpose of the unsolicited faxes.

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                                            PARTIES

       3.       Plaintiff Dr. David L. Brouillette, D.C., S.C. is a Wisconsin service corporation

with offices in Fredonia, Wisconsin, where it maintains telephone facsimile equipment.

       4.       Defendant ACN Opportunity, LLC is a North Carolina limited liability company.

Its registered agent and office is C T Corporation System, 208 S. LaSalle Street, Suite 814,

Chicago, Illinois 60604. Its sole member resides in North Carolina.

       5.       Defendants John Does 1-10 are other natural or artificial persons that were

involved in the sending of the facsimile advertisements described below. Plaintiff does not know

who they are.

                                 JURISDICTION AND VENUE

       6.       This Court has jurisdiction under 28 U.S.C. §§1331 and 1367. Mims v. Arrow

Financial Services, LLC, 132 S. Ct. 740, 751-53 (2012); Brill v. Countrywide Home Loans, Inc.,

427 F.3d 446 (7th Cir. 2005).

       7.       Venue and personal jurisdiction exist because defendant committed tortious acts

by causing the transmission of unlawful communications into the state and defendant has

transacted business here.

                                              FACTS

       8.       On December 15, 2015, plaintiff Dr. David L. Brouillette, D.C., S.C. received the

unsolicited fax advertisement attached as Exhibit A on its facsimile machine.

       9.       Discovery may reveal the transmission of additional faxes as well.

       10.      Defendant ACN Opportunity, LLC is responsible for sending or causing the

sending of the faxes.


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       11.     Defendant ACN Opportunity, LLC as the entity whose products or services were

advertised in the faxes, derived economic benefit from the sending of the faxes.

       12.     Defendant ACN Opportunity, LLC either negligently or willfully violated the

rights of plaintiff and other recipients in sending the faxes.

       13.     Plaintiff had no prior relationship with defendant and had not authorized the

sending of fax advertisements to plaintiff.

       14.     The faxes do not contain an “opt out” notice that complies with 47 U.S.C. §227.

       15.     The TCPA makes unlawful the “use of any telephone facsimile machine,

computer or other device to send an unsolicited advertisement to a telephone facsimile machine

...” 47 U.S.C. §227(b)(1)(C).

       16.     The TCPA provides for affirmative defenses of consent or an established business

relationship. Both defenses are conditioned on the provision of an opt out notice that complies

with the TCPA. Holtzman v. Turza, 728 F.3d 682 (7th Cir. 2013); Nack v. Walburg, 715 F.3d

680 (8th Cir. 2013).

       17.     On information and belief, the faxes attached hereto were sent as part of a mass

broadcasting of faxes.

       18.     On information and belief, defendants have transmitted similar fax advertisements

to at least 40 other persons in Wisconsin.

       19.     There is no reasonable means for plaintiff or other recipients of defendants’

advertising faxes to avoid receiving illegal faxes. Fax machines must be left on and ready to

receive the urgent communications authorized by their owners.




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                                          COUNT I – TCPA

       20.     Plaintiff incorporates ¶¶ 1-19.

       21.     The TCPA, 47 U.S.C. §227(b)(3), provides:

               Private right of action.

               A person or entity may, if otherwise permitted by the laws or rules of court
               of a State, bring in an appropriate court of that State–

                      (A) an action based on a violation of this subsection or the regulations
                      prescribed under this subsection to enjoin such violation,

                      (B) an action to recover for actual monetary loss from such a
                      violation, or to receive $500 in damages for each such violation,
                      whichever is greater, or

                      (C) both such actions.

               If the Court finds that the defendant willfully or knowingly violated this
               subsection or the regulations prescribed under this subsection, the court
               may, in its discretion, increase the amount of the award to an amount equal
               to not more than 3 times the amount available under the subparagraph (B) of
               this paragraph.

       22.     Plaintiff and each class member suffered damages as a result of receipt of the

faxes, in the form of paper and ink or toner consumed as a result. Furthermore, plaintiff’s

statutory right of privacy was invaded.

       23.     Plaintiff and each class member is entitled to statutory damages.

       24.     Defendants violated the TCPA even if their actions were only negligent.

       25.     Defendants should be enjoined from committing similar violations in the future.




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                                    CLASS ALLEGATIONS

       26.     Pursuant to Fed.R.Civ.P. 23(a) and (b)(3), plaintiff brings this claim on behalf of

a class, consisting of (a) all persons with fax numbers (b) who, on or after a date four years prior

to the filing of this action (28 U.S.C. §1658), (c) were sent faxes by or on behalf of defendant

ACN Opportunity, LLC promoting its goods or services for sale (d) and which did not contain an

opt out notice as described in 47 U.S.C. §227.

       27.     The class is so numerous that joinder of all members is impractical. Plaintiff

alleges on information and belief that there are more than 40 members of the class.

       28.     There are questions of law and fact common to the class that predominate over

any questions affecting only individual class members. The predominant common questions

include:

               a.      Whether defendants engaged in a pattern of sending unsolicited fax

                       advertisements;

               b.      Whether defendants thereby violated the TCPA;

               c.      Whether defendants thereby engaged in unfair acts and practices, in

                       violation of the Wisconsin Consumer Act; and

               d.      Whether defendants thereby converted the property of plaintiff.

       29.     Plaintiff will fairly and adequately protect the interests of the class. Plaintiff has

retained counsel experienced in handling class actions and claims involving unlawful business

practices. Neither plaintiff nor plaintiff's counsel have any interests which might cause them not

to vigorously pursue this action.

       30.     Plaintiff’s claims are typical of the claims of the class members. All are based on


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the same factual and legal theories.

       31.     A class action is the superior method for the fair and efficient adjudication of this

controversy. The interest of class members in individually controlling the prosecution of

separate claims against defendants is small because it is not economically feasible to bring

individual actions.

       32.     Several courts have certified class actions under the TCPA. Holtzman v. Turza, 08

C 2014, 2009 WL 3334909, 2009 U.S. Dist. LEXIS 95620 (N.D.Ill., Oct. 14, 2009), aff’d in

relevant part, 728 F.3d 682 (7th Cir. 2013); Sadowski v. Med1 Online, LLC, 07 C 2973, 2008 WL

2224892, 2008 U.S. Dist. LEXIS 41766 (N.D.Ill., May 27, 2008); CE Design Ltd. v Cy's

Crabhouse North, Inc., 259 F.R.D. 135 (N.D.Ill. 2009); Targin Sign Sys. v Preferred

Chiropractic Ctr., Ltd., 679 F. Supp. 2d 894 (N.D.Ill. 2010); Garrett v. Ragle Dental Lab, Inc.,

10 C 1315, 2010 U.S. Dist. LEXIS 108339, 2010 WL 4074379 (N.D.Ill., Oct. 12, 2010);

Hinman v. M & M Rental Ctr., 545 F.Supp. 2d 802 (N.D.Ill. 2008); Clearbrook v. Rooflifters,

LLC, 08 C 3276, 2010 U.S. Dist. LEXIS 72902 (N.D. Ill. July 20, 2010) (Cox, M.J.); G.M. Sign,

Inc. v. Group C Communs., Inc., 08 C 4521, 2010 WL 744262, 2010 U.S. Dist. LEXIS 17843

(N.D. Ill. Feb. 25, 2010); Kavu, Inc. v. Omnipak Corp., 246 F.R.D. 642 (W.D.Wash. 2007);

Display South, Inc. v. Express Computer Supply, Inc., 961 So.2d 451, 455 (La. App. 1st Cir.

2007); Display South, Inc. v. Graphics House Sports Promotions, Inc., 992 So. 2d 510 (La. App.

1st Cir. 2008); Lampkin v. GGH, Inc., 146 P.3d 847 (Ok. App. 2006); ESI Ergonomic Solutions,

LLC v. United Artists Theatre Circuit, Inc., 203 Ariz. (App.) 94, 50 P.3d 844 (2002); Core

Funding Group, LLC v. Young, 792 N.E.2d 547 (Ind.App. 2003); Critchfield Physical Therapy v.

Taranto Group, Inc., 293 Kan. 285; 263 P.3d 767 (2011); Karen S. Little, L.L.C. v. Drury Inns.


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Inc., 306 S.W.3d 577 (Mo. App. 2010).

       33.     Management of this class action is likely to present significantly fewer difficulties

that those presented in many class actions, e.g. for securities fraud.

       WHEREFORE, plaintiff requests that the Court enter judgment in favor of plaintiff and

the class and against defendants for:

               a.      Actual damages;

               b.      Statutory damages;

               c.      An injunction against the further transmission of unsolicited fax

                       advertisements;

               d.      Costs of suit;

               e.      Such other or further relief as the Court deems just and proper.

                              COUNT II – WISC. STATS. §100.20

       34.     Plaintiff incorporates ¶¶ 1-19.

       35.     Defendants engaged in unfair acts and practices, in violation of Wisconsin Stats.

§100.20, by sending fax advertisements to plaintiff and others.

       36.     Defendants engaged in an unfair practice by engaging in conduct that is contrary

to public policy, unscrupulous, and caused injury to recipients of their advertising.

       37.     Plaintiff and each class member suffered damages as a result of receipt of the

unsolicited faxes, in the form of paper and ink or toner consumed as a result.

       38.     Defendants engaged in such conduct in the course of trade and commerce.

       39.     Defendants’ conduct caused recipients of their advertising to bear the cost thereof.

This gave defendants an unfair competitive advantage over businesses that advertise lawfully,


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such as by direct mail. For example, an advertising campaign targeting one million recipients

would cost $500,000 if sent by U.S. mail but only $20,000 if done by fax broadcasting. The

reason is that instead of spending $480,000 on printing and mailing his ad, the fax broadcaster

misappropriates the recipients’ paper and ink. “Receiving a junk fax is like getting junk mail

with the postage due”. Remarks of Cong. Edward Markey, 135 Cong Rec E 2549, Tuesday,

July 18, 1989, 101st Cong. 1st Sess.

       40.     Defendants’ shifting of advertising costs to plaintiff and the class members in this

manner makes such practice unfair. In addition, defendants’ conduct was contrary to public

policy, as established by the TCPA and Wisconsin statutory and common law.

       41.     Defendants should be enjoined from committing similar violations in the future.

                                    CLASS ALLEGATIONS

       42.     Pursuant to Fed.R.Civ.P. 23(a) and (b)(3), plaintiff brings this claim on behalf of

a class, consisting of (a) all persons with Wisconsin fax numbers (b) who, on or after a date six

years prior to the filing of this action, (c) were sent faxes by or on behalf of defendant ACN

Opportunity, LLC promoting its goods or services for sale (d) and which did not contain an opt

out notice as described in 47 U.S.C. §227.

       43.     The class is so numerous that joinder of all members is impractical. Plaintiff

alleges on information and belief that there are more than 40 members of the class.

       44.     There are questions of law and fact common to the class that predominate over

any questions affecting only individual class members. The predominant common questions

include:

               a.      Whether defendants engaged in a pattern of sending unsolicited fax


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                       advertisements;

               b.      Whether defendants thereby violated the TCPA;

               c.      Whether defendants thereby engaged in unfair acts and practices, in

                       violation of the Wisconsin Consumer Act; and

               d.      Whether defendants thereby converted the property of plaintiff.

       45.     Plaintiff will fairly and adequately protect the interests of the class. Plaintiff has

retained counsel experienced in handling class actions and claims involving unlawful business

practices. Neither plaintiff nor plaintiff's counsel have any interests which might cause them not

to vigorously pursue this action.

       46.     Plaintiff’s claims are typical of the claims of the class members. All are based on

the same factual and legal theories.

       47.     A class action is the superior method for the fair and efficient adjudication of this

controversy. The interest of class members in individually controlling the prosecution of

separate claims against defendants is small because it is not economically feasible to bring

individual actions.

       48.     Management of this class action is likely to present significantly fewer difficulties

that those presented in many class actions, e.g. for securities fraud.

       WHEREFORE, plaintiff requests that the Court enter judgment in favor of plaintiff and

the class and against defendants for:

               a.      Appropriate damages;

               b.      An injunction against the further transmission of unsolicited fax

                       advertising;


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               c.      Attorney’s fees, litigation expenses and costs of suit;

               d.      Such other or further relief as the Court deems just and proper.

                                  COUNT III – CONVERSION

       49.     Plaintiff incorporates ¶¶ 1-19.

       50.     By sending plaintiff and the class members unsolicited faxes, defendants

converted to their own use ink or toner and paper belonging to plaintiff and the class members.

       51.     Immediately prior to the sending of the unsolicited faxes, plaintiff and the class

members owned and had an unqualified and immediate right to the possession of the paper and

ink or toner used to print the faxes.

       52.     By sending the unsolicited faxes, defendants appropriated to their own use the

paper and ink or toner used to print the faxes and used them in such manner as to make them

unusable. Such appropriation was wrongful and without authorization.

       53.     Defendants knew or should have known that such appropriation of the paper and

ink or toner was wrongful and without authorization.

       54.     Plaintiff and the class members were deprived of the paper and ink or toner,

which could no longer be used for any other purpose. Plaintiff and each class member thereby

suffered damages as a result of receipt of the unsolicited faxes.

       55.     Defendants should be enjoined from committing similar violations in the future.

                                        CLASS ALLEGATIONS

       56.     Pursuant to Fed.R.Civ.P. 23(a) and (b)(3), plaintiff brings this claim on behalf of

a class, consisting of (a) all persons with Wisconsin fax numbers (b) who, on or after a date six

years prior to the filing of this action, (c) were sent faxes by or on behalf of defendant ACN


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out notice as described in 47 U.S.C. §227.

       57.     The class is so numerous that joinder of all members is impractical. Plaintiff

alleges on information and belief that there are more than 40 members of the class.

       58.     There are questions of law and fact common to the class that predominate over

any questions affecting only individual class members. The predominant common questions

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               a.      Whether defendants engaged in a pattern of sending unsolicited fax

                       advertisements;

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                       violation of the Wisconsin Consumer Act; and

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       59.     Plaintiff will fairly and adequately protect the interests of the class. Plaintiff has

retained counsel experienced in handling class actions and claims involving unlawful business

practices. Neither plaintiff nor plaintiff’s counsel have any interests which might cause them not

to vigorously pursue this action.

       60.     Plaintiff’s claims are typical of the claims of the class members. All are

based on the same factual and legal theories.

       61.     A class action is the superior method for the fair and efficient adjudication of this

controversy. The interest of class members in individually controlling the prosecution of

separate claims against defendants is small because it is not economically feasible to bring


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       62.     Management of this class action is likely to present significantly fewer difficulties

that those presented in many class actions, e.g. for securities fraud.

       WHEREFORE, plaintiff requests that the Court enter judgment in favor of plaintiff and

the class and against defendants for:

               a.     Appropriate damages;

               b.     An injunction against the further transmission of unsolicited fax

                      advertisements;

               c.     Costs of suit;

               d.     Such other or further relief as the Court deems just and proper.



                                              s/ Daniel A. Edelman
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                          NOTICE OF LIEN AND ASSIGNMENT

              Please be advised that we claim a lien upon any recovery herein for 1/3 or such
amount as a court awards. All rights relating to attorney’s fees have been assigned to counsel.



                                            s/ Daniel A. Edelman
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